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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                                 Southern Division

                                              *

In the Matter of the Complaint of             *

Scott Moore, as Administrator of the Estate *
Of Gregory Moore, Owner of the Vessel                    Case No.: 1:17-cv-1310-PWG
“REEL INTIMIDATOR” for Exoneration
From or Limitation of Liability             *

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*      *       *     *      *       *      *   *         *      *       *        *   *
                                          ORDER


       For the reasons stated in the Court’s Memorandum Opinion dated September 21, 2020, the

Defendant’s Motion to Dismiss (ECF No. 74) is GRANTED.               Plaintiff’s Complaint is

DISMISSED with prejudice, for lack of subject matter jurisdiction, and the Clerk is DIRECTED

to CLOSE THIS CASE.



DATED this 21st day of September, 2020.
                                                  BY THE COURT:

                                                          /S/
                                                  Paul W. Grimm
                                                  United States District Judge
